                   Case 19-11240-LSS    Doc 185-2   Filed 06/24/19   Page 1 of 6



                                            Exhibit A

                                       Stalking Horse Order




RLF1 21458513v.1
                   Case 19-11240-LSS         Doc 185-2        Filed 06/24/19         Page 2 of 6



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                       :
In re:                                                 :       Chapter 11
                                                       :
FTD Companies, Inc., et al.,1                          :       Case No. 19-11240 (LSS)
                                                       :
                    Debtors.                           :       (Jointly Administered)
                                                       :

     ORDER (I) AUTHORIZING THE DEBTORS TO PROVIDE BIDDING
PROTECTIONS IN ACCORDANCE WITH THE BIDDING PROCEDURES AND THE
GATEWAY STALKING HORSE AGREEMENT AND (II) GRANTING RELATED RELIEF

                    This matter coming before the Court on the Motion of the Debtors for Entry of an

Order (I) Authorizing the Debtors to Provide Bidding Protections in Accordance with the Bidding

Procedures and the Gateway Stalking Horse Agreement and (II) Granting Related Relief [Docket

No. [●]] (the "Motion") filed by the debtors and debtors in possession (collectively, the "Debtors")

in the above-captioned chapter 11 cases; and that certain Amended and Restated Asset Purchase

Agreement, dated as of June 19, 2019, by and among Gateway Mercury Holdings, LLC

("Gateway"), as purchaser, and FTD, Inc., Florists Transworld Delivery, Inc., FTD.COM Inc.,

FTD.CA, Inc., Provide Commerce LLC, FlowerFarm, Inc. and Bloom That, Inc., as sellers (as may

be hereafter amended, supplemented or otherwise modified, the "Gateway Stalking Horse

Agreement" and, the sale transactions contemplated thereby, the "Gateway Sale"),2 substantially

in the form attached to the Motion as Exhibit B, having been executed by the parties thereto; and




1
         The Debtors are the following 15 entities (the last four digits of their respective taxpayer identification
         numbers, if any, follow in parentheses): FTD Companies, Inc. (5852); Bloom That, Inc. (9936); Florists'
         Transworld Delivery, Inc. (6960); FlowerFarm, Inc. (2852); FSC Denver LLC (7104); FSC Phoenix LLC
         (7970); FTD, Inc. (1271); FTD.CA, Inc. (7556); FTD.COM Inc. (4509); FTD Group, Inc. (9190); FTD
         Mobile, Inc. (7423); Giftco, LLC (5832); Provide Cards, Inc. (3462); Provide Commerce LLC (0019); and
         Provide Creations, Inc. (8964). The Debtors' noticing address in these chapter 11 cases is 3113 Woodcreek
         Drive, Downers Grove, IL 60515.
2
         Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in
         the Motion or in the Gateway Stalking Horse Agreement, as applicable.


RLF1 21458513v.1
                   Case 19-11240-LSS     Doc 185-2       Filed 06/24/19    Page 3 of 6



the Court having reviewed the Motion, the Gateway Stalking Horse Agreement, the Declaration

of Scott D. Levin in Support of First-Day Pleadings [Docket No. 3], the Declaration of Steve Bloom

in Support of the Gateway Stalking Horse Motion [Docket No. [●]] and the Declaration of Alan

D. Holtz in Support of the (I) Gateway Stalking Horse Motion, (II) Farids Stalking Horse Motion

and (III) PlanetArt Stalking Horse Motion Docket No. [●]], and having considered the statements

of counsel and the evidence adduced with respect to the Motion at a hearing before the Court on

_________, 2019 (the "Hearing"); and after due deliberation, this Court having determined that

the legal and factual bases set forth in the Motion establish just cause for the relief granted herein;

and it appearing that the relief requested in the Motion is in the best interests of the Debtors, their

estates and their creditors, and the Debtors having demonstrated good, sufficient and sound

business justifications for the relief granted herein;

IT IS HEREBY FOUND AND DETERMINED THAT:

                    A.   The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012. This matter is a core proceeding pursuant to

28 U.S.C. § 157(b).

                    B.   Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                    C.   Notice of the Motion and the Hearing was sufficient under the

circumstances and no other or further notice need be provided.

                    D.   Gateway has submitted a bid for the Purchased Assets (as defined in the

Gateway Stalking Horse Agreement), as reflected in the Gateway Stalking Horse Agreement

(the "Gateway Stalking Horse Bid").

                    E.   For all purposes under this Order, the Bidding Procedures Order and the

Bidding Procedures, (i) Gateway is a "Stalking Horse Bidder;" (ii) the Gateway Stalking Horse

                                                   2
RLF1 21458513v.1
                   Case 19-11240-LSS    Doc 185-2     Filed 06/24/19      Page 4 of 6



Agreement is a "Stalking Horse Agreement;" and the (iii) Gateway Stalking Horse Bid is a

"Stalking Horse Bid," in each case, as such terms are used in the Bidding Procedures. The Gateway

Stalking Horse Bid shall be subject to higher or better offers in respect of the Purchased Assets, in

accordance with the Bidding Procedures.

                    F.   The Debtors have articulated good and sufficient business reasons for the

Court to approve the Debtors' provision of Bidding Protections, including the Break-Up Fee and

Expense Reimbursement Amount (each as defined in the Gateway Stalking Horse Agreement and,

together, the "Termination Payment"), pursuant to the terms of the Bidding Procedures and the

Gateway Stalking Horse Agreement.

                    G.   The Gateway Stalking Horse Agreement and the Bidding Protections,

including the Termination Payment, were negotiated in good faith and at arms'-length, and are fair,

appropriate and reasonably designed to promote participation in and active bidding at the Auction

to ensure that the highest or otherwise best value is generated for the Purchased Assets.

                    H.   The Termination Payment is necessary to ensure that Gateway will continue

to pursue the Gateway Sale. To the extent payable under the Gateway Stalking Horse Agreement,

the Termination Payment is (i) an actual and necessary cost and expense of preserving the Debtors'

estates within the meaning of section 503(b) of the Bankruptcy Code; (ii) commensurate with the

real and substantial benefits conferred upon the Debtors' estates by the Gateway Stalking Horse

Bid; and (iii) fair, reasonable and appropriate in light of the size and nature of the proposed

Gateway Sale and the efforts that have been and will be expended by Gateway in connection with

the Debtors' sale process.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

                    1.   The Motion is GRANTED as set forth herein.

                    2.   All objections to the relief granted in this Order that have not been

                                                 3
RLF1 21458513v.1
                   Case 19-11240-LSS    Doc 185-2    Filed 06/24/19     Page 5 of 6



withdrawn, waived or settled, and all reservations of rights included therein, are hereby overruled

and denied on the merits with prejudice.

                    3.   The Gateway Stalking Horse Bid shall be subject to higher or better

Qualified Bids, in accordance with the terms of the Bidding Procedures.

                    4.   The Bidding Protections are approved in their entirety, including the

Termination Payment. The Debtors are authorized to provide Gateway with Bidding Protections

in accordance with the terms of the Bidding Procedures and the Gateway Stalking Horse

Agreement. If the Expense Reimbursement Amount has not been paid in accordance with the

terms of the Gateway Stalking Horse Agreement at the time of payment of the Break-Up Fee, it

shall be paid at the time of the Break-Up Fee.

                    5.   The Approved Budget (as defined in the Final Order (I) Authorizing the

Debtors to (A) Obtain Postpetition Financing and (B) Use Cash Collateral, (II) Granting Adequate

Protection to Prepetition Secured Parties, (III) Scheduling Final Hearing, and (IV) Granting

Related Relief [Docket No. [●]]) shall include amounts necessary to satisfy the Termination

Payment. The obligations of the Sellers (if any) to pay the Expense Reimbursement and Break-

Up Fee (a) shall be entitled to administrative expense claim status under sections 503(b)(1)(A) and

507(a)(2) of the Bankruptcy Code; (b) shall not be subordinate to any other administrative expense

claim against the Sellers; and (c) shall survive the termination of the Gateway Stalking Horse

Agreement in accordance with Section 4.6 thereof.

                    6.   Notwithstanding the applicability of any of Rule 6004(h) of the Federal

Rules of Bankruptcy Procedure (the "Bankruptcy Rules") or any other provision of the Bankruptcy

Rules or the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy

Court for the District of Delaware stating to the contrary, the terms and provisions of this Order

shall be immediately effective and enforceable upon its entry, and any applicable stay of the

                                                 4
RLF1 21458513v.1
                   Case 19-11240-LSS     Doc 185-2       Filed 06/24/19     Page 6 of 6



effectiveness and enforceability of this Order is hereby waived.

                    7.   The Debtors are authorized to perform any obligations under the Gateway

Stalking Horse Agreement that are intended to be performed prior to the entry of the Approval

Order (as defined in the Gateway Stalking Horse Agreement).

                    8.   The Debtors are authorized to take all steps necessary or appropriate to

implement the relief granted in this Order.

                    9.   This Court shall retain exclusive jurisdiction over any and all matters arising

from or related to the implementation or interpretation of this Order.



 Dated:     __________________, 2019
            Wilmington, Delaware              THE HONORABLE LAURIE SELBER SILVERSTEIN
                                              UNITED STATES BANKRUPTCY JUDGE




                                                   5
RLF1 21458513v.1
